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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                   4/14/2021
-----------------------------------------------------x
AGHAEEPOUR, et al.,

                                      Plaintiff(s),        RESCHEDULING
                                                           ORDER
               - against -
                                                           14 Civ. 5449 (NSR)
NORTHERN LEASING SYSTEMS, INC.,
et al.,
                     Defendant(s).
-----------------------------------------------------x
NELSON S. ROMÁN, U.S.D.J.:

       Due to an unspecified extension of the discovery deadlines, the above case

scheduled previously for a Status Conference before Judge Román on April 16,

2021 is hereby adjourned until July 29, 2021 at 10:00 am via

AT&T teleconference, unless otherwise notified by chambers.

       To access the teleconference, please follow these directions: (1) Dial the

Meeting Number: (877) 336-1839; (2) Enter the Access Code: 1231334 #; (3)

Press pound (#) to enter the teleconference as a guest.

       In preparation for and while engaging in a teleconference, please follow these

guidelines:

       1. Use a landline whenever possible.

       2. Use handset rather than speakerphone.

       3. Identify yourself each time you speak.
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      4. Be mindful that, unlike in a courtroom setting, interrupting can render both

speakers unintelligible.

      5. Mute when not speaking to eliminate background noise, i.e., dog barking,

kids playing, sirens, papers shuffling, emails pinging, drinking, breathing. It all

comes through. This will also prevent interruptions.

      6. Avoid voice-activated systems that don’t allow the speaker to know when

someone else is trying to speak and they cut off the beginning of words.

      7. Spell proper names.

      8. Have judge confirm reporter is on the line.

      9. If someone hears beeps or musical chimes, that means someone has either

come in or left the conference. Please be aware that the judge may need to clarify

that the reporter has not lost the line. (This has happened before, and the reporter had

to dial back in and tell the judge the last thing that the court reporter transcribed.)

                                                SO ORDERED.
Dated: White Plains, New York
       April 14, 2021

                                                Hon. Nelson S. Román, U.S.D.J.
